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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                      CLERK. U.S. DISTRICT COURT
                                                                                          RICHMOND, VA
                                       Richmond Division


UNITED STATES OF AMERICA


V.                                                                Criminal No. 3:08CR186


CLIFFORD NOEL


                                       MEMORANDUM OPINION


       By Memorandum Opinion                  and     Order entered       on    December      11,

2014, the Court denied on the merits a motion under 28 U.S.C.

§ 2255          filed   by       Clifford      Noel.          United    States       v.     Noel,

No. 3:08CR186,            2014    WL     7239200,      at   *1-11    (E.D.     Va.    Dec.    17,

2014.)          By Memorandum Opinion and Order entered on February 29,

2016,      the     Court     denied       a    Rule    59(e)    Motion    filed      by     Noel.

United States v. Noel, No. 3:08CR186, 2016 WL 828107, at *1-2

(E.D. Va. Feb. 29, 2016.)                     On March 2, 2018, the Court received

from    Noel      a   COMBINED MOTION          AND    MEMORANDUM       OF LAW    PURSUANT       TO

FED.       R.    CIV.   P.    60(b)(3)         and    (6)    SEEKING    RELIEF       FROM    THIS

COURT'S FEBRUARY 19, 2015 MEMORANDUM OPINION AND ORDER DENYING

HIS     28       U.S.C.      § 2255      MOTION.            ("Rule     60(b)    Motion,       EOF

No. 301.")            In his Rule 60(b) Motion,^ Noel contends that the


       ^     Federal       Rule     of    Civil       Procedure      60(b)     provides,        in
pertinent part:

       (b)  Grounds for Relief from a Final Judgment, Order,
       or Proceeding.   On motion and just terms, the court
       may relieve a party or its legal representative from a
       final judgment, order, or proceeding for the following
        reasons:
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Court should vacate the denial of his § 2255 Motion due to fraud

and   exceptional      circumstances.             However,      Noel's      Rule   60(b)

Motion   also   contains      at    least   one        claim   that    challenges      his

underlying conviction and sentence.                    Accordingly, by Memorandum

Order entered on September 19, 2018, the Court explained the

following:

             The Antiterrorism and Effective Death Penalty Act
      of 1996 restricted the jurisdiction of the district
      courts to hear second or successive applications for
      federal habeas corpus relief by prisoners attacking
      the validity of their convictions and sentences by
      establishing a "^gatekeeping' mechanism."    Felker v.
      Turpin, 518 U.S. 651, 657 (1996).        Specifically,
      "[b]efore a second or successive application permitted
      by this section is filed in the district court, the
      applicant shall move in the appropriate court of
      appeals for an order authorizing the district court to
      consider the application." 28 U.S.C. § 2244(b)(3)(A).
           "[A] Rule 60(b) motion in a habeas proceeding
      that   attacks      ^the     substance      of    the    federal      court's
      resolution     of   a   claim   on    the    merits'      is    not   a   true
      Rule   60(b)    motion,       but    rather       a   successive       habeas
      petition," and is subject to the preauthorization
      requirement of 28 U.S.C. § 2244(b)(3)(A) (2012).
      United States v. McRae, 793 F.3d 392, 397 (4th Cir.
      2015) (quoting Gonzalez v. Crosby, 545 U.S. 524, 531-
      32 (2005)). By contrast,        Rule 60(b) motion that
      challenges ^some defect in the integrity of the
      federal habeas proceedings' . . . is a true Rule 60(b)
      motion, and is not subject to the preauthorization
      requirement." Id. (quoting Gonzalez, 545 U.S. at 531-



             (3) fraud (whether previously called intrinsic or
             extrinsic), misrepresentation, or misconduct by
             an opposing party;

             (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b)(6).
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     32).    Where, however, the movant "presents claims
     subject    to   the    requirements    for   successive
     applications as well as claims cognizable under Rule
     60(b)," such a motion is a mixed Rule 60(b)/§ 2255
     motion.     Id.  at 400 (quoting     United  States   v.
     Winestock, 340 F.3d 200, 207 (4th Cir. 2003)).
          Noel's Rule 60(b) Motion contains at least one
     claim that challenges his underlying conviction and
     sentence and may be a successive § 2255 motion.     Noel
     argues that the Court unconstitutionally interfered
     with his criminal proceedings. (Rule 60(b) Mot. 13-
     20.) Because Noel has not obtained authorization from
     the United States Court of Appeals for the Fourth
     Circuit to file a successive § 2255 motion, this Court
     lacks jurisdiction to entertain this portion of the
     Rule 60(b) Motion.
            To the extent that Noel is not challenging                           his
     underlying conviction or sentence but a perceived flaw
     in his § 2255 proceeding, that claim may not be
     successive. Thus, it appears that the Rule 60(b) is a
     mixed Rule 60(b)/§ 2255 motion, see McRae, 793 F.3d at
     397; Gonzalez, 545 U.S. 532 n.4, and the Court must
     afford Noel the opportunity to elect between deleting
     his    successive   §    2255    claims       or    having     his     entire
     motion    treated   as   a    successive      §    2255    motion.          See
     McRae, 793 F.3d 400.
          Accordingly, within thirty (30) days of the date
     of entry hereof, Noel is directed to notify the Court
     whether he would like to delete the improper claims or
     have     the   entire    Rule    60(b)        Motion      treated      as     a
     successive application. Failure to respond within
     thirty (30) days will result in dismissal of the
     action without prejudice.

(ECF No. 310, at 2-4.)


                         I.       SPENCER'S RESPONSE


     Noel has responded to the September 19, 2018                            Memorandum

Order.     In sum, Noel states:       "I would like to have my improper

claims   deleted,    which    would   be     the    claim      that    challenges       my

conviction    and   sentence."        (ECF    No.       312,   at     1.)     With     the
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improper claim or claims deleted,^ the Court will proceed with

the   motion    as   one   filed    under   Federal   Rule   of   Civil   Procedure

60(b).



                            II.     RULE 60(b) MOTION

      Essentially, Noel argues that he and his co-defendants paid

an individual to ghostwrite a § 2255 motion for them without

doing due diligence into his background, and, in hindsight, is

dissatisfied with the product he received.                   (Rule 60(b) Mot. 3-

5.)       Noel argues that this is fraud under Rule 60(b)(3) and

because, there        are "defects      in    the    integrity    of the       Court's

ruling. Rule 60(b)(6) also applies."                (Rule 60(b) Mot. 1.)

      A    party     seeking       relief    under    Federal     Rule    of     Civil

Procedure 60(b) must make a threshold showing of "^timeliness, a

meritorious defense, a lack of unfair prejudice to the opposing

party, and exceptional circumstances.'"                  Powell v. State Farm

Fire & Cas. Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993)

(quoting Werner v. Carbo, 731 F.2d 204, 207 (4th Cir. 1984)).

After a party satisfies this threshold showing, "he [or she]

then must satisfy one of the six specific sections of Rule

60(b)."        Id. (citing Werner, 731 F.2d at 207).                     Noel seeks

relief under Rule 60(b)(3) and (6), hence, under Federal Rule of



     ^ The claims attacking his conviction and sentence (see Rule
60(b) Mot. 13-20), are improper, and upon Noel's instruction,
are deleted.
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Civil    Procedure   60(c)(1)   he     was   required       to   file    his   motion

within a      reasonable time after the entry of the                December 17,

2014 Memorandum Opinion and Order.             Fed. R. Civ. P. 60(c)(1)("A

motion under Rule 60(b) must be made within a reasonable time-

and for reasons (1), (2), and (3) no more than a year after the

entry of the judgment or order or the date of the proceeding.")

Noel's Rule 60(b) Motion, filed more than two years after the

entry of the challenged judgment, was not filed in a reasonable

time.     See McLawhorn v.      John   W.    Daniel     &   Co., Inc., 924       F.2d

535, 538 (4th Cir. 1991) ("We have held on several occasions

that a Rule 60(b) motion is not timely brought when it is made

three to four months after the original judgment and no valid

reason is given for the delay." (citing Cent. Operating Co. v.

Utility Workers of Am., 491 F.2d 245 (4th Cir.1974); Consol.

Masonry & Fireproofinq. Inc. v. Wagman Constr. Corp., 383 F.2d

249    (4th   Cir.1967))).      Noel    fails      to   offer     any     persuasive

argument as to why this Court should find that his Rule 60(b)(3)

or (6) Motion was filed within a reasonable time.                        Cf. Fortune

V. Clarke, 712 F. App'x 296, 297 (4th Cir. 2018) (explaining

that    determination    of   timeliness      of   a    Rule     60(b)    motion     is

discretionary, not jurisdictional).

        Moreover, "[a]   motion      under    [Rule]        60(b)(6) may       not   be

granted absent 'extraordinary circumstances.'"                    MLC Auto., LLC

V. Town of Southern Pines, 532 F.3d 269, 277 n.5 (4th Cir. 2008)
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(quoting Reid v. Angeloney           369 F.3d 363, 370 (4th Cir. 2004)).

Noel     fails     to   demonstrate       that     extraordinary       circumstances

warrants review of the Court's dismissal of his § 2255 Motion or

that he has a meritorious claim.                 At most, Noel's family made an

unwise    investment       in   hiring     an    individual     to   ghostwrite     his

§ 2255 Motion, but he fails to demonstrate any fraud upon this

Court or any other ground for Rule 60(b) relief.^                       Accordingly,

the    Rule   60(b)       Motion   (ECF    No.     301)    will   be    denied.''    A

certificate of appealability will be denied.

       The Clerk is directed to send a copy of this Memorandum

Opinion to Noel and counsel for the United States.

       It is so ORDERED.




Date:     ^
              .         , ^^              Robert E. Payne
                                                                         ^
Richmond, Virginia                        Senior United States District Judge


       ^ Noel represented to the Court that he was proceeding pro
se.   Therefore, Noel alone is responsible for the arguments he
presented to the Court. To the extent that Noel believes he was
entitled      to    the    effective       assistance      of     counsel    for    his
purportedly pro se § 2255, he is incorrect.                     See Pennsylvania v.
Finley, 481 U.S. 551, 555 (1987) (observing there is no general
constitutional right to appointment of counsel to develop and
pursue post-conviction relief).

        ^ Buried in his Rule 60(b) Motion, Noel, for the first time,
indicates that he should be able to obtain relief under Federal
Rule of Civil Procedure 60(d).                  (Rule 60(b) Mot. 20.)        Noel did
not bring his motion pursuant to Rule 60(d).   It appears that
Noel is seeking permission from the Court to file a Rule 60(d)
Motion.       Noel is free to file any motion he desires, however,
that    motion     will    be   subject     to     any    relevant     procedural    or
jurisdictional restrictions.
